Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22                               Desc
               Supplement Addendum to MOR April 2023 Page 1 of 15


                             ADDENDUM TO MONTHLY OPERATING REPORT

                                 In re The Litigation Practice Group, P.C.

                                 Bankruptcy Case No. 8:23-bk-10571-SC

                                       Month Ending 04/30/2023



 Due to a lack of cooperation by Debtor’s principals, Trustee is not able to definitively answer all
 questions set forth in the monthly operating report. Due to the fact that the form cannot be
 electronically submitted without a response to each and every question, Trustee has responded with
 either a “$0” or “no” for the questions to which he does not possess the information and elaborates on
 such answers with the following explanations and additional information:

  Question                                            Trustee’s Explanation
  Debtor’s Full-Time Employees (current)              Trustee was not appointed until May 8, 2023, and
                                                      has not received the payroll records for the
                                                      period covering April 1-30, 2023. As a result,
                                                      Trustee cannot determine the number of full-time
                                                      employees during this period. Trustee was told by
                                                      Debtor’s former managing partner, Daniel March,
                                                      that during this period he was providing legal
                                                      services to approximately 200 clients with the
                                                      assistance of two staff members. Trustee does
                                                      not know if these were employees of Debtor or
                                                      Mr. March.
  Debtor’s Full-Time Employees (as of date of order   Trustee was not appointed until May 8, 2023, and
  for relief)                                         has not received the payroll records as of the
                                                      date of order for relief, and therefore cannot
                                                      determine the number of full-time employees on
                                                      that date. To date, Trustee’s investigation has
                                                      revealed that, prior to entry of an order for relief,
                                                      substantially all of the Debtor’s employees were
                                                      fraudulently transferred to, and/or employed by,
                                                      other entities as alleged in the Adversary
                                                      Proceeding, including but not limited to Maverick
                                                      Consulting, Prime Logix and/or Vulcan Consulting.
                                                      Upon his appointment, Trustee learned that
                                                      Phoenix had an agreement with Maverick that
                                                      Phoenix would pay the hourly rate of Maverick
                                                      employees (many of which were formerly with
                                                      the Debtor) then providing services to Phoenix;
                                                      upon the service of the lawsuit and the issuance
                                                      of the TRO, Phoenix capitulated to the transfer
                                                      back to LPG of the assets, including LPG's ability
                                                      to access the services of hourly personnel
                                                      through the Phoenix contract with Maverick,
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22                                    Desc
               Supplement Addendum to MOR April 2023 Page 2 of 15



                                                             which contract will be rejected, out of an
                                                             abundance of caution, in the coming days.
      Supporting Documentation section1
     Statement of cash receipts and disbursements            Trustee was not appointed until May 8, 2023, and
                                                             has not received any such report or underlying
                                                             data for April 2023 from the Debtor or its
                                                             principals.
     Balance Sheet containing the summary and detail         Trustee was not appointed until May 8, 2023, and
     of the assets, liabilities, and equity (net worth) or   has not received any such report for April 2023
     deficit                                                 from the Debtor or its principals. The only
                                                             information Trustee is in possession of is what
                                                             was listed in the schedules filed under docket no.
                                                             33 on April 4, 2023, and a named “Balance Sheet
                                                             FY 2022” provided as part of the UST 7-day
                                                             package. QuickBooks records received by Trustee
                                                             include data through January 5, 2022.
      Statement of operations (profit or loss                Trustee was not appointed until May 8, 2023, and
     statement)                                              has not received any such report or data for April
                                                             2023, from the Debtor or its principals. The
                                                             QuickBooks records provided to Trustee only
                                                             contain data through December 2021. The only
                                                             information Trustee is in possession of is what
                                                             was listed in the Statement of Financial Affairs
                                                             (“SOFA”) filed under docket no. 34 on April 4,
                                                             2023, and a file named “Income Statement FY
                                                             2022” provided as part of the UST 7-day package.
                                                             SEE BELOW.
      Accounts receivable aging                              Trustee was not appointed until May 8, 2023, and
                                                             has not received any such report for April 2023,
                                                             from the Debtor or its principals. The only
                                                             information Trustee is in possession of is what
                                                             was listed in the schedules filed under docket no.
                                                             33 on April 4, 2023, and a filed named “AR Aging
                                                             – April 28, 2023” provided as part of the UST 7-
                                                             day package. SEE BELOW.

 1
   As mentioned above with respect to employees, and alleged in the Adversary Proceeding, pre-petition,
 substantially all of Debtor’s assets were also fraudulently conveyed to transferees and fraudulent
 conveyance partners such as Phoenix Law, Greyson Law Center, PrimeLogix, Maverick and others.
 Perhaps this scheme explains why Debtor and its principals have refused to turn over the documents
 sought pursuant to this supporting documentation section. Upon the service of the TRO and PI, Trustee
 learned that all revenue formerly of LPG was, prior to the Trustee's appointment, being siphoned from
 LPG to go to these other entities; Mr. Diab testified as much at the hearing on the Preliminary Injunction.
 Trustee's Special Litigation Counsel is in the process of finalizing and serving subpoenas on all financial
 institutions and third parties that appear to have been engaged in or recipients of monies believed to
 belong to LPG that appear to have been siphoned and used for other purposes.
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22                              Desc
               Supplement Addendum to MOR April 2023 Page 3 of 15



   Postpetition liabilities aging                      Trustee was not appointed until May 8, 2023, and
                                                       has not received any such report or data for April
                                                       2023, from the Debtor or its principals. The
                                                       QuickBooks records provided to Trustee only
                                                       contain data through January 5, 2022.
   Statement of capital assets                         Trustee was not appointed until May 8, 2023, and
                                                       has not received any such report or data for April
                                                       2023, from the Debtor or its principals. The
                                                       QuickBooks records provided to Trustee only
                                                       contain data through January 5, 2022.
   Schedule of payments to professionals               Trustee has not made any payments to any
                                                       professionals since his appointment on May 8,
                                                       2023. The only information in possession of
                                                       Trustee is found under docket no. 30. SEE BELOW.
   Schedule of payments to insiders                    Trustee was not appointed until May 8, 2023, and
                                                       has not received any such report for April 2023
                                                       from the Debtor or its principals. The QuickBooks
                                                       records provided to Trustee only contain data
                                                       through December 2021, and SOFA Part 2, #4
                                                       states “None”
   All bank statements and bank reconciliations for    Trustee was not appointed until May 8, 2023, and
  the reporting period                                 has not received any bank statements for
                                                       accounts held by the Debtor for April 2023.
                                                       Trustee has received an incomplete bank
                                                       statement for an account held by Maverick
                                                       Management Group, LLC for the month of April
                                                       2023. Further, the Debtor only listed one pre-
                                                       petition bank account in its schedules and UST’s
                                                       7-day package, however, Trustee has become
                                                       aware that the Debtor held multiple bank
                                                       accounts. SEE BELOW.
   Description of the assets sold or transferred and   Trustee was not appointed until May 8, 2023, and
  the terms of the sale or transfer                    has not received any such report or data for April
                                                       2023, from the Debtor or its principals, and SOFA
                                                       Part 6, #13 states “None” That said, Trustee is
                                                       aware that Debtor purported to transfer its rights
                                                       under its legal services agreements with clients as
                                                       alleged in more detail in Adv. Case No. 8:23-AP-
                                                       01046-SC.
  Part 1, a                                            Trustee was not appointed until May 8, 2023, and
                                                       has not received any bank statements or reports
                                                       for accounts held by the Debtor for April 2023.
                                                       The QuickBooks records provided to Trustee only
                                                       contain data through December 2021.
  Part 1, b                                            Trustee was not appointed until May 8, 2023, and
                                                       has not received any bank statements or reports
                                                       for accounts held by the Debtor for April 2023.
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22               Desc
               Supplement Addendum to MOR April 2023 Page 4 of 15



                                        The QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 1, c                             Trustee was not appointed until May 8, 2023, and
                                        has not received any bank statements or reports
                                        for accounts held by the Debtor for April 2023.
                                        The QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 1, d                             Trustee was not appointed until May 8, 2023, and
                                        has not received any bank statements or reports
                                        for accounts held by the Debtor for April 2023.
                                        The QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 1, e                             Trustee was not appointed until May 8, 2023, and
                                        has not received any bank statements or reports
                                        for accounts held by the Debtor for April 2023.
                                        The only bank statements received by Trustee for
                                        April 2023 are for Maverick Management Group,
                                        LLC, Wells Fargo #0496. (SEE BELOW UNDER “All
                                        bank statements and bank reconciliations for
                                        the reporting period”). The QuickBooks records
                                        provided to Trustee only contain data through
                                        December 2021.
  Part 1, f                             Trustee was not appointed until May 8, 2023, and
                                        has not received any bank statements or reports
                                        for accounts held by the Debtor for April 2023.
                                        The QuickBooks records provided to Trustee only
                                        contain data through December 2021, therefore
                                        Trustee cannot calculate the total disbursements
                                        for April 2023.
  Part 2, a                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023. (SEE BELOW under Accounts
                                        receivable aging). The QuickBooks records only
                                        contain data through January 5, 2022.

  Part 2, b                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023. (SEE BELOW under Accounts
                                        receivable aging). The QuickBooks records only
                                        contain data through January 5, 2022.
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22               Desc
               Supplement Addendum to MOR April 2023 Page 5 of 15



  Part 2, c                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023, Part 5. The QuickBooks
                                        records only contain data through January 5,
                                        2022.
  Part 2, d                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023, Schedule A/B, Part 12, #92.
                                        The QuickBooks records only contain data
                                        through January 5, 2022. SEE BELOW.
  Part 2, e                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023, Part 12, #92. The QuickBooks
                                        records only contain data through January 5,
                                        2022. SEE BELOW.
  Part 2, f                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals to provide for
                                        post-petition payables accrued. The QuickBooks
                                        records only contain data through January 5,
                                        2022.
  Part 2, g                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals to provide for
                                        past due post-petition payables accrued. The
                                        QuickBooks records only contain data through
                                        January 5, 2022.
  Part 2, h                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals to provide for
                                        post-petition taxes accrued. The QuickBooks
                                        records only contain data through January 5,
                                        2022.
  Part 2, i                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report for April 2023
                                        from the Debtor or its principals to provide for
                                        past due post-petition taxes accrued. The
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22               Desc
               Supplement Addendum to MOR April 2023 Page 6 of 15



                                        QuickBooks records only contain data through
                                        January 5, 2022.
  Part 2, j                             See responses to Parts 2f and 2h.
  Part 2, k                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023 from the Debtor or its principals to reflect
                                        the total pre-petition secured debt. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023, Schedule D, Part 1, #3. SEE
                                        BELOW. The QuickBooks records only contain
                                        data through January 5, 2022, and do not identify
                                        which liabilities are secured vs. unsecured.
  Part 2, l                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023 from the Debtor or its principals to reflect
                                        the total pre-petition priority debt. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023, Schedule E/F, Part 4, #5a. SEE
                                        BELOW. The QuickBooks records only contain
                                        data through January 5, 2022, and list a total of
                                        $58,332.21 in tax liabilities. SEE BELOW.
  Part 2, m                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023 from the Debtor or its principals to reflect
                                        the total pre-petition priority debt. The only
                                        information Trustee is in possession of is what
                                        was listed in the schedules filed under docket no.
                                        33 on April 4, 2023, Schedule E/F, Part 4, #5b. SEE
                                        BELOW.
  Part 2, n                             See responses to Parts 2j, 2k, 2l, and 2m.
  Part 2, o                             See responses to Parts 2e and 2n.
  Part 3, a                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023 from the Debtor or its principals with regard
                                        to the sale or transfer of any assets outside the
                                        ordinary course of business. That said, Trustee is
                                        aware that Debtor purported to transfer its rights
                                        under its legal services agreements with clients as
                                        alleged in more detail in Adv. Case No. 8:23-AP-
                                        01046-SC.
  Part 3, b                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023 from the Debtor or its principals with regard
                                        to payments to third parties incident to assets
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22               Desc
               Supplement Addendum to MOR April 2023 Page 7 of 15



                                        being sold or transferred outside the ordinary
                                        course of business.
  Part 3, c                             See responses to Parts 3a and 3b.
  Part 4, a                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021. The only
                                        information Trustee is in possession of is what
                                        was listed in the Statement of Financial Affairs
                                        (“SOFA”) filed under docket no. 34 on April 4,
                                        2023. (SEE BELOW - Statement of operations
                                        (profit or loss statement).

  Part 4, b                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, c                             See responses to Parts 4a and 4b.
  Part 4, d                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, e                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, f                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, g                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, h                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, i                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22               Desc
               Supplement Addendum to MOR April 2023 Page 8 of 15



                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, j                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 4, k                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 5, a                             Trustee has not made any payments to any
                                        professionals since his appointment on May 8,
                                        2023. The only information in possession of
                                        Trustee is found under docket no. 30. (SEE
                                        BELOW - Schedule of payments to professionals)

  Part 5, b                             Trustee has not made any payments to any
                                        professionals since his appointment on May 8,
                                        2023. The only information in possession of
                                        Trustee is found under docket no. 30. (SEE
                                        BELOW - Schedule of payments to professionals)
  Part 5, c                             See responses to Parts 5a and 5b.
  Part 6, a                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 6, b                             Trustee was not appointed until May 8, 2023, and
                                        has not received any such report or data for April
                                        2023, from the Debtor or its principals. The
                                        QuickBooks records provided to Trustee only
                                        contain data through December 2021.
  Part 6, c                             Trustee was not appointed until May 8, 2023, and
                                        has not received the payroll records for the
                                        period covering April 1-30, 2023, and cannot
                                        determine the employer payroll taxes accrued.
  Part 6, d                             Trustee was not appointed until May 8, 2023, and
                                        has not received the payroll records for the
                                        period covering April 1-30, 2023, and cannot
                                        determine if the employer payroll taxes were paid
                                        and how much was paid.
  Part 6, e                             Trustee was not appointed until May 8, 2023, and
                                        has not received any property tax records for the
                                        period covering April 1-30, 2023, and cannot
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22              Desc
               Supplement Addendum to MOR April 2023 Page 9 of 15



                                        determine if any property taxes were paid and
                                        how much was paid.
  Part 6, f                             Trustee was not appointed until May 8, 2023, and
                                        has not received any records reflecting taxes
                                        accrued by the Debtor for the period covering
                                        April 1-30, 2023.
  Part 6, g                             Trustee was not appointed until May 8, 2023, and
                                        has not received any records reflecting taxes paid
                                        by the Debtor for the period covering April 1-30,
                                        2023.
  Part 7, a                             Trustee was not appointed until May 8, 2023, and
                                        has not received any banking records or other
                                        information confirming whether or not any pre-
                                        petition debts were paid by the Debtor from April
                                        1-30, 2023.
  Part 7, b                             Trustee was not appointed until May 8, 2023, and
                                        has not received any banking records or other
                                        information confirming whether or not any pre-
                                        petition debts were paid by the Debtor from April
                                        1-30, 2023.
  Part 7, c                             Trustee was not appointed until May 8, 2023, and
                                        has not received any banking records or other
                                        information confirming whether or not any pre-
                                        petition debts were paid by the Debtor from April
                                        1-30, 2023.
  Part 7, d                             Trustee was not appointed until May 8, 2023, and
                                        does not know if the Debtor filed 2022 federal
                                        and state income tax returns. Tax returns related
                                        to the bankruptcy estate are not due yet.
  Part 7, e                             Trustee was not appointed until May 8, 2023, and
                                        does not know if the Debtor made any estimated
                                        tax payments from April 1-30, 2023. Trustee has
                                        not received any bank statements for accounts
                                        held by the Debtor during this time. (SEE BELOW -
                                        All bank statements and bank reconciliations for
                                        the reporting period).

  Part 7, f                             Trustee was not appointed until May 8, 2023, and
                                        does not know if the Debtor remitted all trust
                                        fund taxes from April 1-30, 2023. Trustee has not
                                        received the relevant payroll tax records.
  Part 7, g                             Trustee was not appointed until May 8, 2023, and
                                        does not know if the Debtor incurred additional
                                        debt from April 1-30, 2023.
  Part 7, h                             The Court has not approved any payments to
                                        professionals in the case so far.
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22             Desc
              Supplement Addendum to MOR April 2023 Page 10 of 15



  Part 7, i                             Trustee was not appointed until May 8, 2023,
                                        once appointed Trustee was provided with the
                                        UST 7-day package by the US Trustee’s office. The
                                        UST 7-day package dated 4/25/2023 did not
                                        include proof of WC insurance. The 7-day package
                                        did include a Certificate of Insurance reflecting
                                        coverage from 4/25/2023 – 4/25/2024 for
                                        general liability for named insured Daniel March.
                                        The certificate did not list the Debtor as named
                                        insured.
  Part 7, j                             No
  Part 7, k                             No
  Part 7, l                             Yes
  Part 8                                SECTION DOES NOT APPLY TO DEBTOR
   Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22                          Desc
                 Supplement Addendum to MOR April 2023 Page 11 of 15


    Statement of operations (profit or loss statement)

    SOFA Part 1, #1: Gross Income from 1/1/2023 – Filing Date: $30,000,000.00

    SOFA Part 2, #3: Payments/Transfers within 90-days before the petition date:

               City Capital     $50,000

               Marich Bein      $12,000,000

    Accounts receivable aging

    Schedule A/B, Part 3, #11: Accounts receivable 90-days old or less: $120,000,000

    “AR Aging – April 28, 2023”:

      Row          Sum of
      Labels       AMOUNT



          2023
      Apr             $240,000.00
      May             $740,000.00
      Jun            $1,200,000.00
      Jul            $1,200,000.00
      Aug            $1,200,000.00
      Sep            $1,200,000.00
      Oct            $1,200,000.00
      Nov            $1,200,000.00
      Dec            $1,200,000.00
      Total          $9,380,000.00


    Schedule of payments to professionals

    Disclosure of Compensation of Attorney for Debtor

               For legal services, I have agreed to accept              $100,000

               Prior to the filing of this statement I have received    $80,000

               Balance Due                                              $20,000

    All bank statements and bank reconciliations for the reporting period

    Summary of transactions in WF 0496 held by Maverick Management Group, LLC:

Transaction        Transaction        Check
Date               Type               Number           Credit/Deposit   Debit/Charge   Payee/Payor

     4/3/2023 Debit                                                     8.75           Slack
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22       Desc
              Supplement Addendum to MOR April 2023 Page 12 of 15




 4/3/2023 Debit                                 12.70      Grand Beach Hotel

 4/3/2023 Debit                                 28.69      Marriott

 4/3/2023 Debit                                 42.50      Intuit QuickBooks

 4/3/2023 Debit                                 200.85     CRS Credit API

 4/3/2023 Debit                                 563.88     Grand Beach Hotel

 4/3/2023 Debit                                 2,499.27   Google

 4/3/2023 Debit                                 4,129.12   Amazon

 4/4/2023 Check        1011                     1,476.52   Unknown Check

 4/4/2023 Debit                                 1,766.45   Relax N Fly Inc

 4/5/2023 Debit                                 5,971.26   Relax N Fly Inc

 4/6/2023 Debit                                 23.00      Squarespace Inc.

 4/6/2023 Debit                                 1,000.00   CRS Credit API

 4/7/2023 Debit                                 119.00     MUI Store

 4/7/2023 Debit                                 129.60     Prime Logix, LLC

 4/7/2023 Debit                                 1,472.78   Paychex Payroll

4/10/2023 Debit                                 339.14     Paychex Taxes

4/10/2023 Debit                                 487.16     Paychex EIB

4/10/2023 Debit                                 1,247.18   Paychex Taxes

4/11/2023 Debit                                 154.45     Paychex EIB

4/11/2023 Debit                                 181.61     Paychex EIB

4/13/2023 Debit                                 282.32     Godaddy.com

4/19/2023 Debit                                 91.24      Prime Logix, LLC

4/19/2023 Debit                                 180.00     MUI Store
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22         Desc
              Supplement Addendum to MOR April 2023 Page 13 of 15




4/20/2023 Debit                                 90,314.62    Paychex Taxes

4/20/2023 Debit                                 214,334.92   Paychex Payroll

4/20/2023 Wire                    308,109.08                 Prime Logix, LLC

4/21/2023 Debit                                 30.00        Wells fargo - wire fee

4/21/2023 Debit                                 30.00        Wells fargo - wire fee

4/21/2023 Debit                                 30.00        Wells fargo - wire fee

4/21/2023 Debit                                 30.00        Wells fargo - wire fee

4/21/2023 Debit                                 495.51       Paychex EIB

4/21/2023 Wire                                  10,000.00    Horizon Finance LLC

4/21/2023 Wire                                  14,000.00    Phoenix Debt Pros Inc
                                                             Platinum Capital Consulting
4/21/2023 Wire                                  34,488.94    LLC

4/21/2023 Wire                                  35,000.00    Prime Logix, LLC

4/21/2023 Wire                                  40,000.00    White Collar Group Inc.

4/21/2023 Wire                                  50,000.00    Debt Relief Group LLC

4/21/2023 Wire                                  115,000.00   Master Consultants America

4/21/2023 Wire                    300,000.00                 LGS Holdco

4/24/2023 Debit                                 444.71       Paychex Payroll

4/24/2023 Debit                                 574.19       Paychex Taxes

4/24/2023 Debit                                 1,668.09     Paychex Payroll

4/24/2023 Check        1013                     2,095.44     Unknown Check

4/25/2023 Debit                                 91.24        Prime Logix, LLC

4/25/2023 Debit                                 154.45       Paychex EIB

4/25/2023 Debit                                 180.87       Paychex EIB
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22                              Desc
              Supplement Addendum to MOR April 2023 Page 14 of 15




4/25/2023 Debit                                                     337.48         Paychex Taxes

4/26/2023 Debit                                                     154.45         Paychex EIB

4/28/2023 Debit                                                     25.00          Wells Fargo - bank fee

4/28/2023 Credit                               0.24                                Wells Fargo Int. Received


 Bank accounts held by Debtor:

  Bank Name       Account Type                          Account Name                           Account Number
 Chase           Checking           The Litigation Practice Group PC                         735863133
 Chase           Checking           The Litigation Practice Group PC                         735863158
 Chase           IOLTA Checking     The Litigation Practice Group PC, IOLTA Trust Account    833813568
 Chase           Credit Card        LPG c/o Alex Tarkoff                                     4485927900010935
 Chase           Credit Card        LPG VC c/o Alex Tarkoff                                  4288377930006652
                                    Secure Payment Services LLC dba Litigation Practice
 Optimum         Checking           Group                                                    210030045
 Optimum         Checking           Coast Processing LLC dba LPG                             210026738
 Union           IOLTA Checking     The Litigation Practice Group PC                         21594874
 Union           Checking           The Litigation Practice Group PC                         21594858
 Union           Checking           The Litigation Practice Group PC                         21595319
 Union           Checking           The Litigation Practice Group PC                         12767570
 Bank of the
 West            Checking           The Litigation Practice Group PC                         065-293441
 Wells Fargo     Checking           Maverick Management Group LLC                            2161510496




 Part 2, d

 Schedule A/B, Part 12, #92: Total of all property on Schedule A/B: $132,186,500

 Part 2, e

 Schedule A/B, Part 12, #92: Total of all property on Schedule A/B: $132,186,500

 Part 2, k

 Schedule D, Part 1, #3: Total: $6,274,810

 Part 2, l

 Schedule E/F, Part 4, #5a: Total claims from Part 1: $374,060.04

 January 5, 2022 Balance Sheet:
Case 8:23-bk-10571-SC Doc 374-1 Filed 08/10/23 Entered 08/10/23 12:09:22   Desc
              Supplement Addendum to MOR April 2023 Page 15 of 15




 Part 2, m

 Schedule E/F, Part 4, #5b: Total claims from Part 2: $141,439,158.05
